      Case 4:23-cv-05051-MKD          ECF No. 15   filed 05/02/23   PageID.629 Page 1 of 2

                                                                                   FILED IN THE
                                                                               U.S. DISTRICT COURT
                                                                         EASTERN DISTRICT OF WASHINGTON


 1
                                                                         May 02, 2023
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                                                                              SEAN F. MCAVOY, CLERK




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 5                         UNITED STATES DISTRICT COURT

 6                       EASTERN DISTRICT OF WASHINGTON

 7   JOHN DOE,                                         No. 4:23-CV-05051-MKD

 8                       Plaintiff,                    ORDER ON NOTICE OF
                                                       DISMISSAL
 9   vs.
                                                       ECF No. 13, 14
10   THE BOARD OF TRUSTEES OF
     WHITMAN COLLEGE, a non-profit
11   corporation,

12                       Defendant.

13         Before the Court is Plaintiff’s Notice of Dismissal, ECF No. 14. Fed. R.

14   Civ. P. 41(a)(1)(A)(i) provides that a plaintiff may dismiss an action without a

15   court order by filing a notice of dismissal before the opposing party serves either

16   an answer or a motion for summary judgment. Defendant has not filed an answer

17   or a motion for summary judgment. Dismissal pursuant to Fed. R. Civ. P.

18   41(a)(1)(A)(i) is appropriate.

19         Accordingly, IT IS ORDERED:

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     ORDER ON NOTICE OF DISMISSAL - 1
      Case 4:23-cv-05051-MKD      ECF No. 15    filed 05/02/23   PageID.630 Page 2 of 2




 1         1.     Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i) and Plaintiff’s Notice of

 2   Dismissal, ECF No. 14, all claims are DISMISSED without prejudice, without

 3   an award of fees or costs.

 4         2.     Any pending motions, including ECF No. 13, are DENIED as moot.

 5         3.     All hearings and other deadlines are STRICKEN.

 6         IT IS SO ORDERED. The District Court Executive is directed to file this

 7   Order, provide copies to counsel, and CLOSE the file.

 8         DATED May 2, 2023.

 9                                 s/Mary K. Dimke
                                  MARY K. DIMKE
10                         UNITED STATES DISTRICT JUDGE

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     ORDER ON NOTICE OF DISMISSAL - 2
